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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       No. 24-cr-121 (CRC)
                                             :
STEPHEN MICHAEL BAKER,                       :
                                             :
       Defendant.                            :


                           GOVERNMENT’S OPPOSITION TO
                         DEFENDANT’S MOTION TO CONTINUE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Defendant Stephen Michael Baker’s Motion to

Continue All Matters in this Case, ECF No. 59. At a pretrial conference on November 6, 2024, the

defense represented that it was prepared to go forward to trial on November 12, 2024. On

November 8, 2024, defense counsel notified the Court that the defendant intends to enter pleas of

guilty to each of the charges filed against him in this matter on November 12, 2024, rather than

proceeding with the bench trial scheduled for that date. ECF No. 57. On Sunday, November 10,

2024, the evening before the Veteran’s Day holiday, the defendant filed the instant motion,

requesting that the court vacate all dates and hearings in this case until the week of February 2,

2025. ECF No. 59. No material change to the facts or law at issue in this case has occurred since

the pretrial conference on November 6, and the government remains prepared for trial. The Court

should therefore deny the defendant’s motion.

       There is a public interest in the prompt and efficient administration of justice. The

government and the Court have endeavored to deliver that interest. The government disagrees that

a continuance is warranted here, and the Court should proceed as it would in any other prosecution.

See, e.g., United States v. Avery, No. 24-cr-79 (CRC), Nov. 6, 2024 Minute Order (denying
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continuance of sentencing hearing based on claim of potential clemency); United States v. Fuller,

No. 23-cr-209 (CKK), Nov. 6, 2024 Minute Entry (denying motion to continue sentencing hearing

based on claim of potential clemency); United States v. Carnell, et al., No. 23-cr-139 (BAH), Nov.

6, 2024 Minute Order (denying motion to continue status conference based on claim of potential

clemency); United States v. Bosch, No. 24-cr-210 (DLF), Nov. 7, 2024 Minute Order (denying

motion to continue trial based on claim of potential clemency); United States v. Lichnowski, No.

23-cr-341 (RBW), Nov. 7, 2024 Minute Order (denying motion to continue sentencing hearing

based on claim of potential clemency); United States v. Heffner, No. 24-cr-260 (APM), Nov. 11,

2024 Minute Order (denying motion to stay proceedings based on claim of potential clemency).

The defendant’s citation to Special Counsel Jack Smith’s motion to vacate a briefing schedule in

the matter of United States v. Trump, No. 23-cr-257 (TSC), is inapposite. That motion refers to the

“unprecedented circumstance” of a criminal defendant being “expected to be certified as President-

elect on January 6, 2025, and inaugurated on January 20, 2025.” See id., ECF No. 278. The need

to “determine the appropriate course going forward consistent with Department of Justice policy,”

id., is not similarly implicated in this case, where the defendant is a private citizen.




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       For the foregoing reasons, the Court should deny the defendant’s motion to continue and

proceed with a change of plea hearing (or trial, if necessary) on November 12, 2024.

                                                    Respectfully submitted,

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